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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF CONNECTICUT

JO LYNN WILSON,                            :
                                           :
       Plaintiff,                          :
                                           :
v.                                         :    CASE NO. 3:15cv207(RAR)
                                           :
YALE UNIVERSITY,                           :
                                           :
       Defendant.                          :


            RULING ON PLAINTIFF’S MOTION TO VACATE JUDGMENT

       The plaintiff brought this action against her former

employer alleging disability discrimination in violation of the

Americans with Disabilities Act and the Federal Rehabilitation

Act.     This case was tried before a jury in September of 2017.

After the jury returned a verdict in favor of the defendant,

judgment was entered against the plaintiff and in favor of the

defendant on September 25, 2017.          (Dkt. # 84).

       On October 25, 2017, plaintiff filed a motion for a new

trial.    (Dkt. # 88).     On December 7, 2017, the Court issued a

ruling denying the plaintiff’s motion.          (Dkt. # 91).    In its

ruling, the Court found that plaintiff’s motion was untimely,

and that even if it had been timely, the Court still would have

denied it because there was no evidence that the jury reached an

erroneous result or that a miscarriage of justice had occurred.

(See Dkt. # 91).



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       Currently pending before the Court is the plaintiff’s

motion to vacate judgment (Dkt. # 93) and the plaintiff’s second

motion for a new trial (Dkt. # 94).        (Dkt. # 93).     For the

reasons stated below, both motions are denied.

                                   Discussion

                          Motion to Vacate Judgment

       Plaintiff argues in her motion to vacate judgment that she

is entitled to relief from judgment under Rule 60 of the Federal

Rules of Civil Procedure (hereinafter “Rule 60”).           (Dkt. # 93).

Plaintiff states that “Magistrate [Judge] Robert A. Richardson

and Magistrate [Judge] Martinez allowed plaintiff’s medical

records . . . to be withheld/suppressed from the jury.”            (Dkt. #

93).    Plaintiff fails to provide any evidence to support this

statement.

       Rule 60(b) provides that “on motion and just terms,” the

Court may relieve a party form final judgment for the following

reasons: “(1) mistake, inadvertence, surprise, or excusable

neglect; (2) newly discovered evidence that, with reasonable

diligence, could not have been discovered in time to move for a

new trial under Rule 59(b); (3) fraud (whether previously called

intrinsic or extrinsic), misrepresentation, or misconduct by an

opposing party; (4) the judgment is void; (5) the judgment has

been satisfied, released or discharged; it is based on an

earlier judgment that has been reversed or vacated; or applying

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it prospectively is no longer equitable; or (6) any other reason

that justifies relief.”      Fed. R. Civ. P. 60.

    Rule 60(b) provides extraordinary relief, and a motion

thereunder may only be granted upon a showing of exceptional

circumstances.     See Serrano v. Smith, No. 05 CIV. 1849 (KTD),

2009 WL 1390868, at *1 (S.D.N.Y. May 13, 2009).          “The burden of

proof on a Rule 60(b) motion lies with the party seeking

relief.”    Id.

    Plaintiff includes the entire text of Rule 60 in her

motion, without identifying any relevant provision of the Rule

or making any argument as to the application of the rule to her

case.   In light of plaintiff’s claim that certain unidentified

medical records were withheld from the jury, the plaintiff seems

to be invoking Rule 60(b)(1) or 60(b)(2).         The Court is strongly

persuaded by the defendant’s arguments in its memorandum of law

in opposition to plaintiff’s motions, that the plaintiff has not

met her burden under either provision.         (See Dkt. # 96 at 4-7).

    Rule 60(b)(1) provides, in pertinent part, that a court may

relieve a party from a final judgment for “mistake,

inadvertence, surprise, or excusable neglect.”          In plaintiff’s

motion to vacate judgment, she alleges that Judge Martinez and

the undersigned withheld or suppressed medical records from the

jury.   (Dkt. # 93).     However, in plaintiff’s first motion for a

new trial, filed on October 25, 2017, plaintiff alleged that her

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attorney failed to submit evidence to the jury and provided

inadequate legal representation.            (Dkt. # 88).   In an abundance

of caution, the Court addresses any alleged error on the part of

the Court as well as any implied error on the part of

plaintiff’s counsel.

      Any claim by the plaintiff alleging judicial error under

Rule 60(b)(1) fails.        While “[r]ule 60(b)(1) may provide relief

from judicial mistake, it should not ‘provide a movant an

additional opportunity to make arguments or attempt to win a

point already carefully analyzed and justifiably disposed.’”

(internal quotations omitted).          Serrano v. Smith, 2009 WL

1390868 at *2.

      Plaintiff makes no specific allegations regarding the

medical records that were allegedly suppressed by the Court or

the specific actions taken by the Court in reference to these

unidentified medical records.1          Plaintiff had ample opportunities

at trial to provide any medical records relevant to her heart

condition, but she provided only a handwritten note from her

cardiologist which read “seen today out of work until further

evaluation by cardiology.”         (Exhibit # 2).      Without presenting

any evidence of judicial mistake, the plaintiff seems to be



1 Indeed, the   list of documents that each party marked for identification or
admitted into   evidence as full exhibits (Doc. # 83) confirms that the
plaintiff did   not attempt to admit any medical records during trial, other
than exhibits   1 and 2, which were both admitted as full exhibits.

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attempting to get a hearing on an issue that was never presented

before the undersigned.

    To the extent that plaintiff claims error on the part of

her counsel under Rule 60(b)(1), the Court finds that this claim

fails for several reasons.        “[T]his Court has consistently

declined to relieve a client under Rule 60(b)(1) due to [her]

attorney's mistake or ignorance of the law or of the rules of

the court, or [her] inability to efficiently manage [her]

caseload.”     Eastwood Auto Body & Garage, Inc. v. City of

Waterbury, 159 F.3d 1346 (2d Cir. 1998).

    This is because, “[g]enerally, the conduct of an attorney

is imputed to his client, for allowing a party to evade the

consequences of the acts or omissions of [her] freely selected

agent would be wholly inconsistent with our system of

representative litigation, in which each party is deemed bound

by the acts of [her] lawyer-agent.”         Aalmuhammed v. Kesten, No.

98 CIV. 171 (DLC), 2003 WL 118512, at *5 (S.D.N.Y. Jan. 14,

2003).

    Plaintiff fails to make any claim regarding specific

medical documents that were withheld or suppressed by her

attorney.     Even if plaintiff had successfully alleged a mistake

or omission on the part of her attorney, relief under Rule

60(b)(1) is not available based upon an attorney's mistake for

the reasons stated above.        See Van Gorden v. Sharinn & Lipshie,

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P.C., 993 F. Supp. 2d 261, 263 (E.D.N.Y. 2014).           Accordingly,

plaintiff’s motion is denied as to Rule 60(b)(1).

    Rule 60(b)(2) provides that a Court may relieve a party

from final judgment where the party presents “newly discovered

evidence that, with reasonable diligence, could not have been

discovered in time to move for a new trial under Rule 59(b).”

“The standard under Rule 60(b)(2) is ‘onerous.’”           Solman v.

Corl, No. 3:15-CV-1610(JCH), 2016 WL 6652443, at *2 (D. Conn.

Nov. 10, 2016).      “To prevail on a motion for relief pursuant to

Rule 60(b)(2), a movant must demonstrate that [she] was

‘justifiably ignorant’ of the newly discovered evidence ‘despite

due diligence’ prior to the order of dismissal and that the new

evidence was of ‘such importance that it probably would have

changed the outcome.’”       Id.

    “It is apparent from the plain language of the rule that

insofar as newly discovered evidence is concerned, Rule 60(b)(2)

is not available to correct a party's failure to utilize Rule

59(b).”     Lorusso v. Borer, No. 3:03CV504(MRK), 2006 WL 473729,

at *6 (D. Conn. Feb. 28, 2006), aff'd, 260 F. App'x 355 (2d Cir.

2008).

    Plaintiff has failed to produce any newly discovered

evidence whatsoever, so the Court need not even reach the

question of whether plaintiff was reasonably ignorant of the new

evidence or could not have discovered it in time to move for a

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new trial under Rule 59(b).     However, given the argument that

plaintiff made in support of her first Motion for a new trial,

it seems apparent that plaintiff knew about the unidentified

evidence at the time of the trial.      (See Doc. # 88 at page 2).

(“The attorney did not submit the evidence to the jury or the

Judge that would have had a different result in the civil rights

disability case.”)(emphasis in original).       Additionally,

although no such documents were offered at trial, plaintiff

suggested more than once during her testimony that she had and

was going to submit additional medical records.         Accordingly,

plaintiff’s motion to vacate judgment under Rule 60(b)(2) fails.

                          Motion for a New Trial

    The Court denies the plaintiff’s Second Motion for a New

Trial (Dkt. # 94) for the same reasons that it denied the

plaintiff’s original motion for a new trial (Dkt. # 88).

Specifically, the plaintiff’s motion for a new trial is

untimely, and even if it were timely, there is no evidence that

the jury reached an erroneous result or that substantial justice

has not been done.

                                 CONCLUSION

    Based on the foregoing reasons the plaintiff’s Motion to

Vacate Judgment (Dkt. # 93) and plaintiff’s Second Motion for a

New Trial (Dkt. # 94) are DENIED.



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    SO ORDERED this 7th day of May, 2018, at Hartford,

Connecticut.



                                 _________/s/___________________

                                 Robert A. Richardson

                                 United States Magistrate Judge




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